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IN THE UNITED STATES DISTRICT COURT                                            Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
---------------------------------------------------------------------X         NOTICE AND
                                    AMERICAN OVERSIGHT,                        MOTION TO
                                                                               COMPEL
                                            Plaintiff,                         FORFEITURE AND
-against-                                                                      FOR CORRECTION
                                                                               OF DOCKET
                                    PETE HEGSETH, et al.,                      RECORD
                                             Defendants.
---------------------------------------------------------------------X


         Jason Goodman, Pro Se litigant asserting constitutional authority files this NOTICE and

MOTION TO COMPEL FORFEITURE AND CORRECTION OF DOCKET RECORD. This is

not a request for leave, nor a petition for discretionary relief. The forfeiture of judicial authority

in this matter has already occurred by operation of law. The Court is now under a constitutional

obligation to recognize this forfeiture, correct the record, and remove itself from this case.

    I.       FROM THE OUTSET, THE COURT HAS ATTEMPTED TO DENY

             CONSTITUTIONALLY ENSHRINED FACTS

    Ex parte Siebold, 100 U.S. 371 (1880), affirms that officers acting outside constitutional

bounds lose all lawful authority. Similarly, Chandler v. Judicial Council, 398 U.S. 74, 140 (1970)

(Douglas, J., dissenting), makes clear that when a judge violates the 'good Behaviour'

requirement, he forfeits the right to hold office under Article III.

    The time for such evasion has ended. The Court has no judicial discretion in this matter.

There is no authority to grant or deny leave for a constitutional reality that has already taken

effect. The Court must now vacate this case and reassign it to an impartial jurist without delay.

Continued obstruction through ongoing misconduct only provides further evidence that the

revelations in Goodman’s initial filings are valid, urgent, and dictate the next steps forward.




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DOCKET RECORD                                               RECEIVED
                                                                                                       MAY 20 2025
                                                                                                  Clerk, U.S. District & Bankruptcy
                                                                                                  Court for the District of Columbia
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    II.      THE COURT HAS ATTEMPTED TO FORCE A CONSTITUTIONAL

             SQUARE PEG INTO AN EXTRAJUDICIAL ROUND HOLE

    The Court has now repeatedly attempted to wrongfully blunt Goodman’s constitutional

motions through an entirely fabricated extrajudicial construction. These unlawful attempts to

reframe the filing must now cease. Judge Boasberg must face the reality of his own misconduct

and his repeated failures to adhere to Article III’s good behavior requirement. Additional

attempts at fabricating these various now failed defenses only further prove Goodman’s initial

point. There is no longer a decision to be made. The die is cast. The judge has no choice, he must

leave this case — and permanently leave the federal judiciary — for repeated and egregious

failure to uphold the Constitution’s most basic obligations that grant him the authority he now

artificially attempts to wield.

    III.     THIS IS NOT A MOTION SEEKING LEAVE FOR DISCRETIONARY

             RELIEF

    The prior filing now entered at (Dkt. 26) was not, and has never been, a motion requesting

leave to file. It was a constitutional NOTICE and a self-executing declaration brought directly

under Article III, Section 1 of the United States Constitution by a legitimately pending amicus

curiae asserting that judicial authority has already been forfeited due to actions taken in the

absence of jurisdiction and in violation of due process. It did not rely on any procedural

mechanism under the Federal Rules of Civil Procedure and explicitly disclaimed reliance on

Rule 60(b)(4) or any other rule within the Fed R. Civ. P. that would otherwise presume judicial

discretion giving way to mandatory forfeiture. Any attempt to recharacterize that motion as one

seeking leave is a falsification of the record and an additional violation of Goodman’s First

Amendment right to petition the government for redress of grievances—particularly here where



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that grievance involves ongoing misconduct. These self-evident constitutional facts can no

longer be denied. Immediate forfeiture can no longer be delayed.

   IV.      THE COURT CANNOT SIT IN JUDGMENT OF ITS OWN FORFEITURE

   In Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803), the Supreme Court affirmed that it is

the judiciary’s duty to enforce constitutional limits. That duty applies even when the Court must

act against its own members. United States v. Throckmorton, 98 U.S. 61 (1878), holds that fraud

invalidates all it touches — and a judge acting outside lawful authority renders each subsequent

act void.

   It should not require repeated filings by a pro se, non-attorney with no formal legal training,

to remind the chief judge of the Washington D.C. district court that when a plaintiff has

disqualified themselves through statutory abuse, such as misuse of nonprofit law or selection of a

statute that provides no private right of action, the case cannot proceed. Here, the vexatious

plaintiff’s disqualification is confirmed under Rule 17(b)(2) of the Federal Rules of Civil

Procedure, which makes clear that a plaintiff must have capacity to sue under the law of the state

where its corporate authority was formed. A nonprofit that is abusing its corporate charter and

IRS Code or engaging in ultra vires, partisan political activity as American Oversight is in

violation of clear restrictions and nonprofit law lacks such capacity. This is not merely a

technical defect — it is fatal. The plaintiff lacks standing, capacity, and the legal right to be

before this Court and the Court should have acknowledged that fact at the outset, dismissing this

case sua sponte. This is not Goodman’s decree. It is a legal and constitutional fact. This case

must now end without any further delay.




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   V.      DOCKETING WITHOUT PROPER CHARACTERIZATION IS AN

           UNDENIABLE ATTEMPT TO MANIPULATE THE RECORD AND AVOID

           APPELLATE REVIEW

   As reaffirmed in Public Citizen v. Clerk, U.S. District Court, 451 F. Supp. 2d 109 (D.D.C.

2006), a clerk’s refusal to docket valid filings implicates access to justice and First Amendment

rights. Likewise, Bill Johnson’s Restaurants, Inc. v. NLRB, 461 U.S. 731 (1983), recognizes that

retaliatory suppression of filings is a violation of protected constitutional expression.

   VI.     THIS FILING IS NOT A REQUEST — IT IS A FINAL DEMAND FOR

           RECORD INTEGRITY AND FORFEITURE ENFORCEMENT

   The pro se movant and the law demand immediate correction of the docket to reflect the

accurate nature of the filing at Dkt. 26. This Court has no lawful discretion to override or ignore

a constitutional notice once filed. Every act of delay, concealment, or falsification from this point

forward constitutes further evidence of obstruction and judicial bad behavior that could rise to

the level of attempted fraud upon the court.

   The Court’s own behavior leading up to this filing makes it abundantly clear that the judge

understands the gravity of what has been asserted — and is doing everything possible to avoid

confronting the inevitable. That ends now.

   VII.    RELIEF DEMANDED

   Pulliam v. Allen, 466 U.S. 522 (1984), makes clear that judicial immunity does not shield

judges from injunctive or declaratory relief when acting unconstitutionally. And in Caperton v.

A.T. Massey Coal Co., 556 U.S. 868 (2009), the Supreme Court emphasized that even the

appearance of bias is grounds for recusal under the Due Process Clause.




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   The pro se movant and the constitution demand the following, not as a request for judicial

indulgence, but as enforcement of constitutional rights and operation of law:

       i.      Immediate correction of the docket entry for Dkt. 26 to reflect the actual title and

               character of the document;

       ii.     A formal acknowledgment on the record that the Court has no authority to

               reclassify or adjudicate constitutional notices asserting forfeiture of jurisdiction;

       iii.    Immediate recognition of the forfeiture of judicial authority in this case, vacatur

               of any further judicial acts, and reassignment to a neutral and impartial jurist not

               implicated in the misconduct;

       iv.     That any continued failure to comply be deemed willful obstruction of

               constitutional process, subject to escalation under 28 U.S.C. §§ 351–355 or

               referral to appropriate oversight authorities.



                                                        Dated: New York, New York May 20, 2025

                                                                             Respectfully submitted

                                                                                    Jason Goodman
                                                                       Constitutional Pro Se Movant
                                                                     truth@crowdsourcethetruth.org
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                                                                                       347-380-6998




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IN THE UNITED STATES DISTRICT COURT                                                Case No. 1:25-cv-00883
FOR THE DISTRICT OF COLUMBIA
---------------------------------------------------------------------X             CERTIFICATE OF
                                    AMERICAN OVERSIGHT,                            SERVICE

                                            Plaintiff,
-against-

                                   PETE HEGSETH, et al.,
                                           Defendants.
                                     ---------------------------------------------------------------------X


       I hereby certify that on May 17, 2025, I served true and correct copies of the

following documents by electronic mail (with PDFs attached):

NOTICE AND MOTION TO COMPEL FORFEITURE AND FOR
CORRECTION OF DOCKET RECORD




upon the following parties:

amber.richer@usdoj.gov, emma.lewis@americanoversight.org,

ben.sparks@americanoversight.org, ron.fein@americanoversight.org,

katherine.anthony@americanoversight.org

                                                               Dated: New York, New York May 20, 2025

                                                                                      Respectfully submitted

                                                                                          Jason Goodman
                                                                                  Pro Se Amicus Applicant
                                                                            truth@crowdsourcethetruth.org
                                                                                    252 7th Avenue Apt 6s
                                                                                     New York, NY 10001
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CERTIFICATE OF SERVICE                                                                                         1
